Case 1:21-cv-07863-VEC Document 19 Filed 10/04/21 Page 1of5

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Kate, et al.
Plaintiffs,

Vs. DECLARATION OF

DR. MARTIN MAKARY
de Blasio, et al.
Civil Action No. 1:21-cv-07863

 

 

Defendants.
STATE OF )
)ss.:
COUNTY OF )

Martin Makary, M.D., M.P.H. declares under penalty of perjury, pursuant to 28
U.S.C. § 1746, that the following is true:

1. Iwas asked to provide a declaration providing my opinion, as an expert witness,
on points related to a direct threat analysis in this case.

2. Some of my background and qualifications are below.

3. Ihave a master’s in public health from the Harvard School of Public Health and
am a licensed physician.

4. Iam a Professor at the Johns Hopkins University School of Medicine where I
have been teaching and conducting research for nineteen years.

5. In addition, I manage patients where issues of infection control are paramount,
particularly among immunosuppressed patients after surgery.

6. Ihave published over 250 scientific articles and served in leadership in the World

Health Organization Safe Surgery Saves Lives initiative.

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Case 1:21-cv-07863-VEC Document 19 Filed 10/04/21 Page 2of5

7. Ihave not and will not receive any financial or other compensation for writing this
Declaration. Nor have I received compensation for preparing declarations or
reports or for testifying in any other case related to the Covid-19 pandemic. I have
no financial or other ties to the Plaintiffs or the attorneys in this suit. My
participation has been motivated solely by my commitment to public health.

8. Those who choose not to get vaccinated may be making a poor health decision at
their own individual risk. However, they are unlikely to pose a significant public
health threat to those around them in a school setting.

9. The risk of harm to an immune person is minimal. Vaccination has been shown
to be highly effective in preventing severe Covid disease and in downgrading the
severity of illness.

10. Similarly, the risk to children is very low. Most children experience very mild
symptoms or no symptoms. For example, the incidence of hospitalization from
COVID-19 in kids ages 5 to 17 was 0.3 per million for the week ending July 24,
2021, according to the Centers for Disease Control and Prevention‘.

11. The infection fatality rate of Covid illness in Covid immune people is lower than
the infection fatality rate of influenza in people who have not received the
influenza vaccine.

12. Requiring the vaccine in people who are already immune with natural immunity
is excessive because natural immunity is at least as effective as vaccinated

immunity in several studies. In the largest study conducted worldwide, natural

 

' https://gis.cde.gov/grasp/COVIDNe/COVID19_3.html

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Case 1:21-cv-07863-VEC Document 19 Filed 10/04/21 Page 3 of 5

immunity was approximately 27-times more effective than vaccinated immunity
in preventing symptomatic Covid infection.?

13. This affirmed a June Cleveland Clinic study of health-care workers (who are often
exposed to the virus), in which none who had previously tested positive for the
Covid got reinfected.3 The study authors concluded that “individuals who have
had SARS-CoV-2 infection are unlikely to benefit from covid-19 vaccination.”

14. Similarly in May, a Washington University study reported that even a mild covid
infection resulted in long-lasting immunity.4

15. The emerging data from these and multiple other studies suggest that natural
immunity is as effective or better than vaccine-induced immunity in terms of
clinical outcomes in the time studied.

16. Some public health officials cite a CDC study suggesting that vaccinated
immunity is more effective than natural immunity, but the study is limited
because it only examined a 2-month period in one state and did not report
whether people who developed covid had any symptoms. This was the only slice
of data reported by the CDC to my knowledge, despite the CDC having data on

many states for a much longer period of time.

 

2 Sivan Gazit, Roei Shlezinger, Galit Perez, Roni Lotan, Asaf Peretz, Amir BenTov, Dani Cohen, Khitam
Muhsen, Gabriel Chodick, Tal Patalon. Comparing SARS-CoV-2 natural immunity to vaccine-induced
immunity: reinfections versus breakthrough infections. medRxiv August 24, 2021;

DOI: 10.1101/2021.08.24.21262415

3 Nabin K. Shrestha, Patrick C. Burke, Amy S. Nowacki, Paul Terpeluk, Steven M. Gordon. Necessity of
COVID-19 vaccination in previously infected individuals. medRxiv. June 1, 2021.
DOT: 10.1101/2021.06.01.21258176

4 Turner JS, Kim W, Kalaidina E, Goss CW, Rauseo AM, Schmitz AJ, Hansen L, Haile A, Klebert MK,
Pusic I, O'Halloran JA, Presti RM, Ellebedy AH. SARS-CoV-2 infection induces long-lived bone marrow
plasma cells in humans. Nature. May 24, 2021. DOI: 10,1038/s41586-021-03647-4

 

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Case 1:21-cv-07863-VEC Document 19 Filed 10/04/21 Page 4of5

17. There is high population immunity in many parts of the U.S. This stems from a
combination of natural immunity5 and vaccinated immunity.

18. Roughly a third to half of Americans who are unvaccinated have natural
immunity, based on an analysis of California residents®, and the estimate may be
higher in people who worked throughout the pandemic. The prevalence of
natural immunity increases with each passing day.

19. Medical exemptions to vaccine mandates should not be pre-defined to be overly
narrow. There are multiple valid reasons why a clinician may not recommend a
full 2-dose vaccine regimen to an individual, depending on their clinical situation
and history.

20.Mandating vaccines for "every living, walking American" is, as of now, not well-
supported by science. Moreover, an indiscriminate vaccination policy may result
in unintended harm.

21, Clinical studies show, for example, that boys and men under the age of twenty
three face a risk of myocarditis after the second vaccine dose that may be as high
as 1 per 7000 males. Myocarditis may lead to death. The true incidence of this
known vaccine-related complications is not fully understood with reliable
population studies.

22. For any male employees under the age of 23, an exemption to avoid the second

vaccine dose can be supported by the science.

 

?; https://www.wsj.con/articles/the-power-of-natural-immunity- | 1623171303
6 https://www.sfchronicle.com/health/article/More-than-a-third-of-Californians-recently-tested- 16015721.php

 

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Case 1:21-cv-07863-VEC Document 19 Filed 10/04/21 Page 5of5

23.Currently, we do not have robust and highly-reliable system for actively tracking
adverse reactions to the vaccine in young people. As a result, the CDC may not be

accurately capturing the extent of rare adverse reactions in this population.

Mets. MA

DR. MARTIN MAKARY

M.D., M.P.H.

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